       Case 2:13-cr-06054-EFS           ECF No. 381         filed 08/12/16      PageID.1131 Page 1 of 2
 PROB 12C                                                                               Report Date: August 12, 2016
(6/16)
                                                                                                           FILED IN THE
                                        United States District Court                                   U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON


                                                        for the                                   Aug 12, 2016
                                                                                                      SEAN F. MCAVOY, CLERK
                                         Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brandon Scott Langford                    Case Number: 0980 2:13CR06054-EFS-4
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: July 15, 2014
 Original Offense:        Conspiracy and Aiding and Abetting Bank Fraud, 18 U.S.C. § 1344, 371 and 2; Bank
                          Fraud, 18 U.S.C. § 1344(2);
 Original Sentence:       Prison 7 days; TSR - 36 days       Type of Supervision: Supervised Release
 Asst. U.S. Attorney:     Thomas J. Hanlon                   Date Supervision Commenced: July 15, 2014
 Defense Attorney:        Alex B. Hernandez, III             Date Supervision Expires: July 14, 2017


                                          PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 20: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to testing (which may include urinalysis or sweat patch), as
                        directed by the supervising officer, but no more than six tests per month, in order to confirm
                        continued abstinence from these substances.

                        Supporting Evidence: On August 3, 2016, the defendant reported for a random urinalysis
                        test at First Step Community Counseling and failed to comply with the testing procedures.
                        The initial test returned presumptive positive for the presence of amphetamine and once the
                        defendant was advised he walked out of the facility and left. Part of the testing process is to
                        sign the chain of custody form when a presumptive test is noted.


            2           Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                        shall not purchase, possess, use, distribute, or administer any controlled substance or any
                        paraphernalia related to any controlled substances, except as prescribed by a physician.

                        Supporting Evidence: On August 3, 2016, the defendant provided the urine sample noted
                        in Violation Number 1. The sample was forwarded to Alere Toxicology Services, Inc. for
                        confirmation. The sample returned positive for the presence of methamphetamine.
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          3           Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                      shall not purchase, possess, use, distribute, or administer any controlled substance or any
                      paraphernalia related to any controlled substances, except as prescribed by a physician.

                      Supporting Evidence: On August 11, 2016, the defendant provided a urine sample at the
                      probation office in Richland. The sample returned presumptive positive for the presence of
                      amphetamine and cocaine. The sample was forwarded for confirmation.

          4           Special Condition # 19: Defendant shall undergo a substance abuse evaluation and, if
                      indicated by a licensed/certified treatment provider, enter into and successfully complete an
                      approved substance abuse treatment program, which could include inpatient treatment and
                      aftercare. Defendant shall contribute to the cost of treatment according to defendant’s ability
                      to pay. Defendant shall allow full reciprocal disclosure between the supervision officer and
                      treatment provider.

                      Supporting Evidence: The defendant is currently in non-compliance with his intensive
                      outpatient drug treatment after leaving treatment early on August 2, 2016, without
                      permission. The defendant also failed to report for treatment on August 8, 2016; August 9,
                      2016; and August 10, 2016.

                      On August 11, 2016, the defendant was asked why he had missed the sessions and not
                      complied with treatment. The defendant answered, “it’s boring as hell.”

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer to the allegations contained in this petition.
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     August 12, 2016
                                                                             s/David L. McCary
                                                                             David L. McCary
                                                                             U.S. Probation Officer


 THE COURT ORDERS
 [ ]   No Action
 [X ]  The Issuance of a Warrant
 [ ]   The Issuance of a Summons
 [ ]   Other


                                                                             Signature of Judicial Officer

                                                                                August 12, 2016
                                                                             Date
